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UNHED STATES DISTRICT CoURT %
FoR THE WESTERN DISTRICT oF TENNESSEE 33 s
WESTERN DIVISION
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UNITES STATES oF AMERICA, 3 3 3[ ‘ \' ""L "'H'°

P]aintiff,

v. Cr. NO. 04-20490_:)

BoBBiE CONLEY,

Defendant.

 

ORDER GRANTING MOT[ON TO
CONTINUE SENTENCING HEARING

 

For good cause shown, and without objection by the government, the sentencing hearing in

l _ / fy _M'D ~,-,,
this matteris hereby RESET from Tuesday, May 3, 2005 to /!/[€jg,,?@, DQO§`S @ `,D.

1115 so oRl)ERED, this the § 0 day of Aprii, 2005.

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NORABLE BERNICE B. DONALD
UNITED STATES DISTRICT COURT JUDGE

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This document entered on the docket heet' m compliance :;l /
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Honorable Bernice Donald
US DISTRICT COURT

